                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 RUBY FREEMAN and WANDREA' MOSS,                              No. 24-cv-06563-LJL;
                                                              24-mc-00353-LJL
                               Plaintiffs,
                                                              DECLARATION OF
 v.                                                           KENNETH A. CARUSO

 RUDOLPH W. GIULIANI,

                               Defendant.


       KENNETH A. CARUSO hereby declares, pursuant to 28 U.S.C. § 1746:

       1.      I am a member of the Bar of this Court and the sole member of Kenneth Caruso

Law LLC. I am lead counsel for Defendant, Rudolph W. Giuliani (“Defendant”), in both 24-cv-

06563-LJL (the “Homestead Action”) and 24-mc-00353-LJL (the “Turnover Proceeding”).

       2.      I submit this Declaration in compliance with the Court’s Order (Homestead

Action ECF 85, Turnover Proceeding ECF 117) (the “Order”), which requires that “attorneys

Caruso and Labkowski shall promptly serve a copy of this Order on Defendant, by express mail

and email, and shall file a proof of service on ECF.”

       3.      Immediately after the Court entered the Order, I served a copy of it on Defendant

via email.

       4.      Mr. Labkowski informed me that, last night, he sent a copy of the Order to

Defendant via FedEx overnight delivery.

       5.      Upon reviewing the FedEx tracking number, 779966880515, I confirmed that the

Order was delivered to Defendant, today, at 10:52 am.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.



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Executed on November 15, 2024
                                    By: /s/ Kenneth A. Caruso
                                    Kenneth Caruso Law LLC
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                                    Attorneys for Defendant,
                                    Rudolph W. Giuliani




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